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                         EXHIBIT A
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                                    JUROR QUESTIONNAIRE


I.        GENERAL QUESTIONS

     1.   JUROR NAME:                                                                     AGE: ____

     2.   Where do you now work and what is your job? If unemployed/retired, answer for last job
          held:
          _______________________________________________________________________

     3.   What previous jobs have you held?

     4.   What is the last or highest level of school you completed? If college, please list field of
          study and any degree(s) received:

     5.   In what area(s) have you received special education or training?

     6.   What is your marital status?
          C Never married L Cohabitating LJ Married D Divorced           Widowed/widower
          If married/cohabitating, what is your spouse/partner’s occupation? ________________


     7.   Have you ever served in the military? D YES J NO
          If YES, list which branch you served, and last rank attained:
          _______________________________________________________________________

     8.   Regarding lawsuits (other than a divorce), have you been a:
          [Check all that apply] Plaintiff n Defendant n Witness 7 Unsure r- Never Been
          Involved in a lawsuit

     9. Do you have strong opinions about lawsuits and the people who bring them?
           YES □ NO

     10. Have you served on a jury?
           [ YES □ NO
         If YES,
             a. What kind(s) of case(s)?
             b. What was the jury’s verdict?              c. Were you the foreperson? YES7 NO J
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  11. Have you ever worked, directly or indirectly, for the government (local, state, or
      federal)? □ YES □ NO
      IF YES, please describe:

  12. Please list your social, political, civic or religious organizations, clubs, groups, or other
      affiliations:
      _______________________________________________________________________

  13. Have you held any positions of leadership in these organizations? What role?

  14. Have you, or an immediate family member, ever worked for a law firm?            YES J NO
      IF YES, please describe:

  15. Have you or an immediate family member ever owned a small business? L YES L NO
      IF YES, please describe:

  16. Have you or an immediate family member ever been an officer, director, or member of a
      corporation, partnership, or limited liability company?
         YES □ NO
      IF YES, please describe:

  17. Where do you get most of your news? (circle all that apply)
      Newspaper (which ones?):                    TV: CNN, NBC, ABC, CBS, FOX, PBS,
      OAN, Newsmax, Other
      YouTube (which channels)?:                              , Facebook,
      Twitter/X, Instagram, Tiktok, Reddit, Radio or Podcasts (what
      programs)?:     Friends/Family/Word of mouth
      Magazines: TIME, Newsweek, U.S. News
      Other Sources:

  18. Do you believe that individuals or small businesses have little chance of protecting their
  interests when they conflict with powerful groups or large corporations? C Strongly Agree
  □ Somewhat Agree C Neutral :::J Somewhat Disagree        Strongly Disagree C No Opinion

  19. Do you believe corporations have too much power in this country? □ YES □ NO
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II.        QUESTIONS SPECIFIC TO THIS CASE

      20. Have you ever received any education or professional training in any of the following
      subjects:
        A.      Advertising
        B.      Antitrust Law
        C.      Auctions (whether online or live)
        D.      Communications
        E.      Computer Science
        F.      Economics
        G.      Education
        H.      Ethics or Political Science
        I.      Finance or Accounting
        J.      Fraud Examiner
        K.      Law
        L.      Law Enforcement
        M.      Privacy
        N.      Web Publishing

           If you answered yes to any of these subjects, please describe this education or training.
           ________________________________________________________________________

      21. Have you or anyone you know ever invented or designed anything?
           C   YES □ NO

           If YES:
               a. Who invented or designed it?
               b. What was invented or designed?

      22. Have you, or someone close to you, ever bought or sold advertising on the internet or
      through mobile applications? L YES _J NO

      23. Have you ever owned a business?       □   YES □ NO

      24. Has anyone you know ever owned intellectual property?
       u YES _J NO L Unsure

      25. Have you or anyone close to you worked at a job where you or they were involved in the
      development or marketing of new products, technology or software?
       J   YES □ NO □ Unsure
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   26. Have you, or an immediate family member, ever worked in the technology industry, in
   content creation, in app or software development, or in online publishing?
  n YES J NO

     If YES, please explain:
     ________________________________________________________________________

   27. Have you ever been involved in buying or selling advertising? Was this online advertising
   or something else?
     YES J NO

     If YES, please explain:
     ________________________________________________________________________

   28. Have you ever bought or sold anything at an auction? Was it a live auction or online
   auction? D YES J NO

     If YES, please explain:
     ________________________________________________________________________

   29. Have you, or anyone close to you, ever worked for or had any business dealings with any
   of the following companies or entities (circle if applicable):

      a.       GOOGLE LLC                                        J YES D NO
      b.       Facebook/Meta                                     □ YES C NO
      c.       Amazon                                            J YES D NO
      d.       Microsoft                                         J YES LJ NO
      e.       The State of Texas                                D YES [ NO


   If you answered YES to any of the above, please explain:
   _________________________________________________________________________

   30. In general, what is your opinion of Google’s brand and products? □ Very Positive
    Somewhat Positive J Neutral C Somewhat Negative L Very Negative LJ No Opinion

   31. Do you use any Google products? YES [ NO
   If YES, please explain:
   _________________________________________________________________________

   32. In general, what is your opinion of the Texas Attorney General, Ken Paxton?
   [  Very Positive [ Somewhat Positive [ Neutral D Somewhat negative [ Very
   Negative □ No Opinion
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   33. Below is a list of additional States and their Attorney General. Please state whether you
   are familiar with this person and, if you know them, whether your opinion of them is: Very
   Positive, Somewhat Positive, Neutral, Somewhat Negative, Very Negative, or No Opinion.

    Attorney general and state               Have you heard Is your opinion: Very
                                             of this attorney positive, somewhat positive,
                                             general?         neutral, somewhat negative,
                                                              very negative, no opinion.

    Ken Paxton- Texas (2015-current)

    Treg Taylor - Alaska (2021-current)

    Tim Griffin - Arkansas (2023-current)
    Leslie Rutledge -Arkansas (2015-
    2023)

    James Uthmeier - Florida (2025-
    current)
    John Guard (2025)
    Ashley Moody (2019-2025)

    Raúl Labrador - Idaho (2023-current)
    Lawrence Wasden (2003-2023)

    Todd Rokita - Indiana (2021-current)

    Russell Coleman - Kentucky (2024-
    current)
    Daniel Cameron (2019-2024)

    Liz Murrill - Louisiana (2024-current)
    Jeff Landry (2016-2024)

    Lynn Fitch - Mississippi (2020-
    current)

    Andrew Bailey - Missouri (2023-
    current)
    Jeff Schmitt (2019-2023)

    Austin Knudsen - Montana (2021-
    current)

    Aaron Ford - Nevada (2019-current)

    Drew Wrigley - North Dakota (2022-
    current)
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    Wayne Stenehjem (2001-2022)

    Lourdes Lynnette Gómez Torres
    - Puerto Rico (2025-current)
    Janet Parra Mercado (2025)
    Domingo Emanuelli Hernández (2021-
    2025)

    Alan Wilson - South Carolina (2011-
    current)

    Marty Jackley - South Dakota (2023-
    current)
    Mark Vargo (2022-2023)
    Jason Ravnsborg (2019-2022)

    Derek Brown - Utah (2025-current)
    Sean Reyes (2013-2025)

   34. Do you have any opinions regarding any of the following other companies, entities, or
   publications: Magnite, Gannett, Daily Mail, Fox News, Texas Monthly, Microsoft, the Trade
   Desk, Pubmatic, Criteo, Broadstreet Ads, Dentsu, Comcast, Nike, The Daily Mail, The
   Progressive, Eileen Fisher, AdZerk, AppNexus, Magnite, OpenX, Buzzfeed, Disney, Digital
   Content Next, Equative, Gannett Co., GSD&M, Index Exchange, NBC Universal, The
   Nation, or Zulily?
    □ YES :::J NO



   If YES, please explain:

   35. Do you believe in capitalism? L YES U NO

   36. Do you favor a free market economy? U YES C NO

   37. Do you think it is possible for a company to start small and grow to become
   very large by making a better product? L YES lJ NO

   38. Do you believe a company can only grow larger by using unfair means of
   competition? □ YES u NO

   39. Do you believe our legal system is broken? □ YES :::J NO

   40. Do you believe the government should take action or change the law to restrain large
   companies?
      □ YES    NO
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 III.     FINAL QUESTIONS AND SIGNATURE

        41. This case is set for a jury trial beginning on [DATE] and is expected to last a total of
        [six] weeks. Recognizing a trial of that length would be a hardship on all jurors, is there any
        unique and serious hardship of serving for this length of time that might affect your ability to
        pay attention to the evidence, focus for the full length of the trial, and render a fair verdict in
        light of the law the Court will give to you?

          YES          NO. If your answer was YES, please explain the hardship:
    n           :::i



          ________________________________________________________________________

        42. Is there anything else you feel the Court and the parties should know about you and your
        ability to be a fair and impartial juror? YES NO
                                                 □         [

        If YES, please explain:




Prospective Juror Signature                                                                Date:
